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                              3rd            December




       R. Brooke Jackson
       Senior United States District Judge
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